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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 WALEED ALZAHRANI,                                   )
                                                     )
                              Plaintiff,             )
                                                     )
                         v.                          )       No. 1:17-cv-04128-TWP-MJD
                                                     )
 INDIANA UNIVERSITY,                                 )
 INDIANA UNIVERSITY-PURDUE                           )
 UNIVERSITY INDIANAPOLIS,                            )
 BRIAN TOMLINSON,                                    )
 JASON SPRATT,                                       )
 MARIA HINTON,                                       )
                                                     )
                              Defendants.            )


                  ORDER ON JOINT MOTION TO STAY PROCEEDINGS

        This matter comes before the Court on the parties’ Joint Motion to Stay Proceedings.

 [Dkt. 32.] The Court, being duly advised, hereby GRANTS the motion. This matter is hereby

 STAYED pending the results of Plaintiff’s efforts to transfer to another graduate program to

 complete his doctoral degree in respiratory therapy. Furthermore, the Court now directs the

 Clerk to administratively close this matter. Either party may move to reopen this matter and lift

 the stay at any time.

        SO ORDERED.


        Dated: 20 MAR 2018




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